f (us
yn

Case 8:19-cr-00593-TDC Document1 Filed 12/16/19 Page 1of5

HMG/DB: USAO#2019R00861

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA

   

: CRIMINALNO. \% C2 TAA-7T 1
v. (False Statements, 18 U.S.C. § 1001)
DAVID LAUFER, : UNDER SEAL
Defendant.
1.000.
INDICTMENT

COUNTS ONE THROUGH FIVE — FALSE STATEMENTS

 

The Grand Jury for the District of Maryland charges:

INTRODUCTION
At times material to this Indictment:
1. Defendant DAVID LAUFER (“LAUFER”) was a resident of Bethesda,
Maryland. |
oe

LAUFER was an employee of Walter Reed National Military Medical Center

(“Walter Reed”), which was the largest joint military medical center in the United States.
3.

Walter Reed was located in Bethesda, Maryland. Prior to 2011, Walter Reed was
located in the District of Columbia.

7
L

4 Walter Reed was part of the Department of Defense, which was partof t

2S nc

= we

he, oS
2 3 “AO? “Ty
‘ ‘ m Moe ao
executive branch of the United States Government. KN RG ner
ing =-0

QQ zt Uae

mw FE

. > a

- =
1 co
Case 8:19-cr-00593-TDC Document1 Filed 12/16/19 Page 2of5

5. Walter Reed provided orthotic and prosthetic services to U.S. service members
and their dependents, including wounded soldiers.
6. LAUFER worked as the Chief of the Prosthetics and Orthotics Department at

Walter Reed until in or about May 2019.
a. Persons B and C, Companies B and C

7. From at least in or about 2012 to in or about 2019, Company B provided
prosthetics and orthotics materials to the Prosthetics and Orthotics Department at Walter Reed in
return for payments from the government.

8. Person B lived in Montgomery County, Maryland. Person B owned, operated and
controlled Company B, which was located in Germantown, Maryland.

9. Person B regularly interacted with LAUFER about Company B’s business with
Walter Reed.

10. Person C operated Company C, which was based in Baltimore County, Maryland.
b. LAUFER’s Ethics Training

11. LAUFER received annual training on government ethics.
12. LAUFER’s government sponsored ethics training warned him about:

a) the dangers of accepting financial benefits from a prohibited source, i.e. a
person or organization seeking to do business with the Department of
Defense; and

b) the federal conflict of interest statutes, and the prohibition on a federal
government employee working on a matter affecting certain financial
interests.
Case 8:19-cr-00593-TDC Document1 Filed 12/16/19 Page 3 of 5

c. LAUFER’s Financial Reporting

13. LAUFER’s government job required him to complete annual Confidential
Financial Disclosure forms, OGE Form 450 and OGE Form 450-A.

14. LAUFER submitted an OGE Form 450 in 2013, 2016, and 2017, and an OGE
Form 450-A in 2014 and 2015.

15. The OGE Form 450 required LAUFER to report the following:

(a)(1) all sources of salary, fees, commissions, and other earned income greater than

$200; (a)(2) honoraria greater than $200; and (a)(3) other non-investment income such as

scholarships, prizes, and gambling income greater than $200;

(b) all positions outside the U.S. Government during the reporting period, whether or not

compensated and whether or not the position was currently held, including any business

entity in which LAUFER (and his spouse) was an employee or consultant;

(c) any agreements and arrangements concerning past, current, and future employment;
and

(d)(1) Travel-related reimbursements (items such as lodging, transportation, and food)

totaling more than $350 from any one source during the reporting period and (d)(2) Any

other gifts totaling more than $350 from any one source during the reporting period.

16. The OGE Form 450-A required LAUFER to report any changes during the
reporting period to the information listed on his prior OGE Form 450.

17. | The OGE Form 450s and OGE Form 450-As required LAUFER to “certify that

the statements I have made on this form and all the attached statements are true, complete, and

correct to the best of my knowledge.”
18.

Case 8:19-cr-00593-TDC Document1 Filed 12/16/19 Page 4of 5

' THE OFFENSES

DAVID LAUFER,

On or about the dates set forth below, in the District of Maryland and elsewhere,

the defendant herein, did willfully and knowingly make the following materially false, fictitious,

and fraudulent statements and representations, which the defendant then and there knew were

false, in a matter within the jurisdiction of the Department of Defense and the Department of

Justice, which were branches of the Government of the United States:

 

 

 

 

 

 

 

 

Financial Disclosure form, OGE-450, that he
had (a) no reportable sources of income; (b)

 

Count | Date False Statements Facts Known By
Defendant

1 1/7/2015 LAUFER stated on his Confidential LAUFER had received
Financial Disclosure form, OGE-450-A, that | reportable financial
he had (a) no reportable sources of income; benefits, including travel
(b) no reportable outside positions; (c) no benefits, which were paid
reportable agreements concerning future, for by Person B and
current, or past non-governmental Company B.
employment; and (d) no reportable gifts or
travel reimbursements.

2 1/7/2016 LAUFER stated on his Confidential LAUFER had received
Financial Disclosure form, OGE-450, that he | reportable financial
had (a) no reportable sources of income; (b) | benefits, such as travel,
no reportable outside positions; (c) no which were paid for by
reportable agreements concerning future, Person B and Company
current, or past non-governmental B.
employment; and (d) no reportable gifts or
travel reimbursements.

3 10/26/2016 | LAUFER told federal agents that (a) he did | LAUFER had previously
not recall any occasions when he engaged in | received financial
travel with Person B; (b) he had never benefits, including travel
received money, gifts, or sporting event and sporting event tickets,
tickets from any vendor doing business from Person B and
before the Prosthetics and Orthotics Company B.
Department; and (c) “Nobody is getting paid
off, nobody is getting anything extra.”

4 2/7/2017 LAUFER stated on his Confidential LAUFER had received

reportable financial
benefits, including travel

 

4:

 
Case 8:19-cr-00593-TDC Document1 Filed 12/16/19 Page 5of5

 

no reportable outside positions; (c) no and sporting event tickets,
reportable agreements concerning future, from Person B and
current, or past non-governmental Company B.

employment; and (d) no reportable gifts or
travel reimbursements.

 

5 9/5/2019 LAUFER told federal agents that from 2013 | LAUFER had not earned
to 2015, he earned $10,000-$12,000 any income from 2013-
in cash doing work for Person C and 2015 doing work for
Company C, and deposited the cash in his Person C and Company
bank accounts, C.

 

 

 

 

 

 

18 U.S.C. § 1001(a)(2)

 

18 U.S.C. § 2
RAK Hu [te
ROBERT K. HUR
United States Attorney
A TRUE BILL:
SIGNATURE REDACTED), 1, 4/
“ “Foreperson

 
